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UNITED STATES DISTRICT COURT
IN THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

ROBERT JOHANNES; 689879,
Individually, and on behalf of all
other similarly situated prisoners,

Plaintiffs,
vs.

DANIEL H. HEYNS, Director of the
Michigan Department of Corrections
(MDOC), and DR. DALTON
SANDERS, sued in their official

and individual capacities,

 

Defendants.
/

DANIEL E. MANVILLE (P39731) ROBERT GITTLEMAN (P14025)
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COMPLAINT SEEKING CLASS CERTIFICATION AND
FOR DECLARATORY AND INJUNCTIVE RELIEF

Parties
1. Plaintiff, ROBERT JOHANNES, 689879, at all times relevant is/was a prisoner
of the Michigan Department of Corrections, and is a resident of the State of Michigan.
2. Defendant, DANIEL H. HEYNS, is/was at all times relevant Director of the
Michigan Department of Corrections (MDOC). He is being sued in his individual and official

capacities. He is responsible for the overall operation of the MDOC. He is directly responsible
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for designating the is there a medical and/or dental director, and the consequences that plaintiffs
and the proposed class members have suffered, and will suffer, as a result of the failures
enumerated below.

3. Defendant Dr. DALTON SANDERS is the general dentist in charge of the dental
care for the plaintiff representative at all material times herein and is an independent contractor
and/or employee, agent and/or designated representative of the Michigan Department of
Corrections (MDOC).

Exhaustion of Administrative Remedies

4. Plaintiff, Robert Johannes, has filed grievances for denial of timely dental care,
and has appealed all determinations to his final and last determination, thereby exhausting all
administrative remedies.

Jurisdiction

5. This Court has jurisdiction over this case pursuant to 42 U.S.C. Sec. 1331 and
1343; 28 U.S.C. Sec. 2201 and 2202; and Federal Rules of Civil Procedure 57 and 65. This
action is brought pursuant to 42 U.S. Sec. 1983 and 1988.

6. The Michigan Department of Corrections is a recipient of Federal financial
assistance for operation of its prisons.

Class Allegations

7. Plaintiff intends to proceed, pursuant to Fed.R.Civ.P. 23, on behalf of all other
persons similarly situated in obtaining an injunction against Defendant Director Daniel H. Heyns
of the MDOC as to present policies and/or practices of denying dental care, including failure to

ensure timeliness and completed required dental treatment to maintain proper occlusion, ability
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to masticate food and eat, prevent general health problems from malnutrition, prevent loss of
teeth, prevent periodontal disease, prevent loss of multiple teeth destroying healthy dentition,
provide timely competent restorative treatment, maintain timely prophylaxes schedules to
maintain healthy oral cavity health, prevent unnecessary teeth loss by timely restorative and
periodontal treatment, prevent pathologic changes in the jaw joints by timely competent general
restorative dentistry.

8. The proposed class is composed of all past, present and future prisoners who have
been members who have required/require, and/or will require appropriate dental care, including
as stated infra, to permit the prisoner to chew/masticate food and maintain a minimum safe
dentition with proper occlusion, in violation of the Eighth Amendment, who are not treated
pursuant to MDOC’s required policies and/or practices or as required under the United States
Constitution and Federal and State of Michigan laws.

9. The proposed class of persons similarly situated to the named plaintiff is so
numerous, it is impractical to list or bring all members before the court. On information and
belief, there are thousands of prisoners of the MDOC who are class members similarly situated
to the named plaintiff, Robert Johannes.

10. The named plaintiff and their counsel will fully and adequately represent the
interests of all the members of the proposed class.

11. The nature of the rights sought to be enforced for the proposed class are typical of
all of the members of the proposed class, because there are common questions of law and fact

that predominate over questions affecting only members, and where common relief is sought.
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12. The maintenance of the instant action as a class action will be superior to

individual litigation by promoting convenient and efficient administration of justice.
Factual Allegations

13. The following is the dental treatments provided to Plaintiff, which are the factual
basis for the legal claims in this lawsuit: On or about May 6, 2009, defendant Sanders examined
Plaintiffs tooth #31 and determined there was no restoration of the tooth; on or about August 25,
2009 tooth #12 was examined and rescheduled for more time; on or about September 9, 2009 a
temporary filling on tooth #12 was placed and the filling fell out on September 12, 2009; on or
about September 14, 2009 an Amalgam restoration was performed on tooth #12, and tooth #12
broke off while tightening the metal band and then tooth #12 fell out on or about December 14,
2009; on or about October 6, 2009 defendant, Sanders examined #31 and determined more time
is needed; on or about November 23, 2009 an x-ray and defendant examined tooth #27, 28 and
31 and determined more time is needed; on or about December 4, 2009, defendant, Sanders
examined plaintiff and did not do any procedures; on or about December 7, 2009, defendant,
Sanders extracted tooth #28 and tooth #31; on or about March 1, 2010, defendant, Sanders
extracted tooth #12; on or about April 19, 2010 a temporary filling was placed on tooth #15 by
defendant, Sanders; on or about June 16, 2010, defendant, Sanders consulted but did not perform
any treatment; on or about July 22, 2010, defendant, Sanders consulted regarding tooth #13 and
14 treatment was no work was done; on or about July 26, 2010, defendant, Sanders placed a
permanent filling in tooth #15; on or about October 6, 2010, defendant, Sanders made a
treatment plan which has not been followed through; on or about December 10, 2009, defendant,

Sanders examined plaintiff and found advanced periodontal disease, and extracted tooth #13; on
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or about August 23, 2011, plaintiff, requested fillings and partial; on or about April 24, 2012,
plaintiff requested his teeth be cleaned; on or about January 31, 2013, plaintiff complained of
pain in his tooth that broke; on or about February 11, 2013, defendant Sanders examined
plaintiff, diagnosed broken tooth and pain when eating, and a periapical abscess and scheduled
plaintiff for tooth extraction; on or about March 1, 2013, defendant, Sanders diagnosed un-
restorable caries, un-restorable fracture and extracted tooth #19; on or about March 5, 2013,
defendant, Sanders consulted for treatment with plaintiff; on or about March 27, 2013, plaintiff
request exam and teeth cleaning; on or about June 17, 2013, plaintiff requested to have partial
and bridges.

14. ‘Plaintiff, during his entire treatment with defendant Sanders, has continually
requested through verbal requests to defendant, Sanders, Mary Baker, and/or Sheryl Bild, who
are agents of Defendants Sanders and Heyns, for partial bridges and/or dentures due to his loss of
teeth and inability to eat hard foods or chew hard foods. Defendant Sanders had knowledge of
loss of plaintiff's teeth due to periodontal disease and/or extractions and/or other reasons; and
knew the missing teeth required replacement by bridges and/or dentures, but failed to do any
replacement of natural lost teeth at any time and/or failed to do so timely by providing dentures
and/or bridges.

15. Plaintiff has been incarcerated since 2008 and from his date of incarceration up to
present day, plaintiff has had teeth extracted while being incarcerated, lost several teeth, and
thus, requires dentures/partials so that he is able to eat hard foods and chew hard foods, but

defendants have failed to fashion any bridges and/or dentures for plaintiff.
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16. From 2009 through 2013, plaintiff, and his similarly situated class members, have
suffered numerous unnecessary teeth extractions and currently, do not have a viable dentition to
support eating and/or chewing, including inability to eat hard and/or chewy foods. Plaintiff has
filed numerous Kites complaining about the inability to eat, because he has had numerous teeth
extractions and requested dentures or some restorative device so that he can eat food.
Defendants have failed to and/or timely failed to supply, fashion, make or otherwise provide any
dental device, including dentures, partial dentures, and/or bridges, so plaintiff, and his similarly
situated class members, can engage in the normal activity of eating.

17. Plaintiff, and his similarly situated class members, have suffered deliberate
indifference to their continual serious dental needs, by defendants failing to provide at all, and/or
timely providing dentures, partial dentures, and/or bridge(s), i.e., restorations being made,
fashioned and delivered to the patient-prisoner, including plaintiff, and his class representatives,
thereby seriously inhibiting the ability to eat and chew chewy and/or hard foods, inability and/or
loss of ability to masticate, causing pain and suffering, debilitated general health, deterioration of
the teeth and inability to engage in normal life activities, including chewing, eating, swallowing,
unnecessary loss of bone, cosmetic deformities, facial deformities, loss of weight, deficiencies to
general health, including nutrition deficiencies from inability to eat and chew.

18. Plaintiff, and his similarly situated class members, have suffered deliberate
indifference to their serious dental needs by defendants’ serial failure to provide timely and/or no
restorations, nor extractions of painful decayed teeth, and /or the making of dentures, partial
dentures or bridges for patients lacking teeth to allow eating properly, which are serious life

needs.
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19. ‘Plaintiff, and his similarly situated class members, have suffered deliberate
indifference to their serious dental needs by defendants failing to provide and/or timely provide
replacement teeth in the form of bridges and/or dentures where defendants knew or should have
known teeth were pulled, lost due to periodontal disease, loss due to other reasons, extracted,
and/or fell out; and by failing to provide bridges and/or dentures, thereby worsening the
plaintiffs and similarly situated class members, dental condition and health by denying the
ability to eat, chew hard foods, causing inability to engage in normal life activities, including
chewing, eating, swallowing, loss of bone, cosmetic deformities, facial deformities, loss of
weight, deficiencies to general health, nutrition deficiencies due to inability to eat and chew.

20. Plaintiff, and his similarly situated class members, have suffered deliberate
indifference to their serious dental pathologies, by defendants failing to provide reasonable, and
reasonably prompt dental treatment for the pathological conditions, including paragraphs 9, 13
14, 15 and 18; and, failing to provide remedial or follow-up care, including but not limited to
preventing teeth loss, providing dentures/partial dentures/bridges/restorations/ periodontal
treatment to provide for proper eating and mastication.

21. Due to prison policy and practice, plaintiff, and his similarly situated class
members, are deprived of the ability to eat, eat normally, forced to eat only soft foods, inability
to eat hard and/or chewy foods, causing inability to engage in normal life activities as stated in
the above and below paragraphs, including chewing, eating, swallowing, loss of bone, cosmetic
deformities, facial deformities, loss of weight, deficiencies to general health, nutrition

deficiencies due to inability to eat and chew.
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22. Plaintiff, and his similarly situated class members, have suffered deliberate
indifference to their serious dental needs, by defendants causing plaintiff, and his class members,
to the present time to suffer with few teeth and/or no teeth or untreated pathological teeth or
gums, because defendants failed to provide remedial dental care or deliver, fashion, make
dentures, partial dentures, bridges, and/or restorations or periodontal treatment to enable the
plaintiff and his class members to maintain reasonable general health, eat, chew hard and/or
chewy foods, and bite into foods.

23. Plaintiff, and his similarly situated class members have been subjected to
continuing violations of their constitutional rights.

EIGHTH AMENDMENT VIOLATION

24. Plaintiffs reallege and incorporate by reference all prior paragraphs.

25. Dental needs/health are serious medical necessities, because dental care is one of
the most important needs of inmates to preserve/maintain general health, including the ability to
eat and chew foods, and the ability to engage in a normal activity of eating, necessary for
maintaining nutritional health, physical health, dental health; normal eating/chewing is a basic
bodily function to sustain life. Deprivation of the ability to eat/chew constitutes cruel and
unusual punishment.

25. Deliberate indifference to serious dental needs is unconstitutional and constitutes
cruel and unusual punishment, thereby violating the Eighth Amendment of the United States
Constitution.

Relief

WHEREFORE, for the reasons stated, this Court should:
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A. Accept jurisdiction of this matter;

B. Certify this matter as a class action;

C. Declare that the rights of plaintiff and class members were violated by the actions or non-
actions of the defendants;

D. Issue an injunction against defendants to require the providing of the dental care that does
not violate the Eighth Amendment;

E. Require defendants to comply with all necessary orders determined by this Court

F. To award attorney’s fees and costs; and

G. To grant any other relief determined to be just and equitable.
DATED this 28" day of March, 2014.

Respectfully submitted, by:

Attorneys for Plaintiffs

   

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